Case 8:19-cv-01236-KKM-SPF D

"_ NEW-YORK SPECTATOR,
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21/24 Page 1 of 1 PagelD 4229

‘Suggosted by Cole's four panogsrpesetngte ‘voyage | fondant és charged with selling two sels of copies.— | man,
of Bie, Soveral swearto having purchased copies athis store, | jw,

BY 3s, BEDA TH and one witness swearsthat atthe ine of his pur: | OF
L chase he sav several, perhaps iy as twenty- | Merc
ther of great rath, ‘rom the entry at the Cus-| diane
“Par more suggestive thine then written toa joo oa apnea that the “ tp volur
‘ay we rene ih he foal rat So prsene thet the bok tdi not active her, the opa- les ¢
‘Dim cavern ofthe past. Vislonsunceut, Dot the Gouri ibn he the obi |
‘ jf is iy of the | was ¢
‘The waters come Jefendant ares arrival of arm
Arana from that dim cavern forth, the invoice by ‘tet ip Westminster. This branch |
ayntic tide of hiiman life. A child, is more difficult of decision. ‘The truth canbe best | Was
Secon faba boeu, eect eh pasts i: serv atby examining the testimony of the lek, wil
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sia Tih been urged by the inti conn at
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athe srean. The barney re ‘This testimony, halt been alduee, could} 1
oy 1 general result sever
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No more the iaing. The daring youth
‘a send tne el an deeper launches forth,
ls oye amid illusions of idea! land
Bright ates, bolt a ame ory, worth,

$2000 of debt, with

on
Tec the fit volume ‘erate ‘vitin wx
blished

enorme mare nid Ueremeotereen earth; ,
He hears no more the ausi of bs birt

‘The fac tres him pnactes and towers,
A bah eh te pig oh bry
Unheeds their te ot

r'Second volume? No.

5. Pith volume.
What nu ber of copie ofthe Enis ork

Poreuvard isha courts haa ase
‘8inco fancy paints the prospect passing far.

m.

Sull onward goes the barque—the deeper ide

Bearait along where breakers foam and roar,
a bend line the shore;

 thacalenda Tor today." The de

— This ee

for wartwout,and his ib
towne 8180000.” Dr. Lon, he
to

tors of Henry Beko is on

he triad anu the

Dense vapors rising, allthe future ida;

nextterm he sail he Ne belived he
ch less The case hax

‘The guiding helm he eager grasps nomore ;
‘Thine welghs the prow, thew
Swift lowa the current, fierce:

Half he reenis, yet calmly bidea thetest,

‘With hands clasped tlrmly on the unconquered breest
Normeetsalone that hour with peril rife—

Forth fromon highthe guardian spirit bende

‘With ministry of love, and any stcengthening sends,

‘Thy mt iced se
Look oe eremor ory —for ty bro
Iscitcled

been mie under the charge of F. B. Salting wi
sas expectedly oie togotn Eorpeand

ih Mr. Prescott Hall and himself ; bat
the: vie ou ‘too short to enable thein to become mas
tera the ext, and doit the justice demanded.

‘The anoant was an aceon ears ony, ated
it judgent mast go anal
tr ekord ‘wero av would every diferent
rite

by the diay, bat under be jee cireumstances
1s Would be offered to the post-

me ‘Butler said he should like the Froud of the
aotion putin proper foray, and he should then have

No more eart's turoiod wallthy soul engage,
leneas ot rage.

‘upon the subject, .
‘The counsel were then directed to prepara their

‘The court then lured cape

‘Of thatrast ocean, wavcless, rayless, dread,

Where time's perpetual tribatocircliog ound,

‘Dropa silent in,all passioulass and dead,

‘When thine own voyage is o'er, and thou shalt acer
ternal wave, thus, thus above thy heed

ieloriesabietdthy heart from fear—

‘bat strougin faith aud prayer,

‘Thou shel ook meckly up behold, thy Gudisthere ?

Jn Chencery “Before the Vice, Chancellor
in this ease an aitachnvent had been saul against
the detendant for relsing to deliver cera propety

toa Receiver Ieappesrel hat when ft brought
up for examination teivrethe Master, he was wear-
ing gold wach, w i te was requ dlr

lecli ioe to do.

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day an sistaent—the waren

hn tat parting with
Ae possesion of the ated ust be Coalred
of the injunction, and as far a8 it Was eon:

eames, “i was a fraadulent transaction, ‘hat he
considered nv such change ssiou had taken
place as would give the assignee a ttle tothe pro.

Deny andas the judgment creditor lad fled ¢ Si
andso beld a lien upon the property, he had no rit

U.S. Chreuit Couré. Saturday.
Before Judge Thompson.
Sesuoet oF ‘CooL:
‘o'clock

es

“'Thave now waited olf an hour, and there is
‘aill no business ready ; U shall. proceed, therefore,
tot teal the general calender, and if coun
nother, they imu take the cone quence of ther
rnoneattondance.” proceeded teal the
Sealan bor Go cual erperal
negligence isevidently wi thecaeh, Sai mytins
is tot to be wasted in this mennet Total the
fort the causes, and they must ake te
tnngequences of the

Having ached thecase ol "the United State
ler said he was very desirous io

You are at liberty to proceed sir; the
stesso be bey ber
alee kno ir, tatf L proceed nd
ike ann inquest in the case, a motion will be made to
he time of the Court ‘nll be

“Their applica of
wah ey i Issa ot st aide untess they eon
show mea ¥ ent and saisfctory cause fu

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agence; 40 ou and take your ingest eit”
ihe Bater, CH avesent an ofier ater” Mr

for, ondered to stand ited ui he shold de>
liver the wate!

‘nuther ques Wasinvaved i th presen case
prt regard to some artes of forsture canlsined

in the same assignment. ¢ defendant had con-
te sed ji judgment, ‘and an execution was sewed ‘anil
his property sold; he, however, had made an ogre
ment Mhce auctioneer tha! certain articles should

Ne inne
Wereremoved tothe dafendants mother inlaws,
Broowesteet, where himself and family ret, and
‘occupation,
Receiver to give up this

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“He was required by the I

‘property, but refused on the greund that he had no |

‘control over it.

Hlis Honor said that it was not shown that any
‘otter person had exercised control overit, and, there:
fre, he was constrained to alin tat fs had it in
his power to deliver th. therefore,
hhe should order hin to

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panied by Mr, Price, and the case proceed
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Price appeared Fersonaly and, move postpone
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Berend «long ativast
fh that on the 1th ft Mag, he pple othe
District Attorney, B-. Bule, Ey, and requester
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United States Clroult Court
* Before Judges Thompson and. Beis
Tina "Divight, et alsa Daniel ‘Aoplton

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sel, John A. Mort
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crap at, tothe 6 6th Dee mber, "1838 ; ma
sas neeesay that he shold pow wheter thy
‘te to be allowed or Aisallowed before he could go

He therfore prayed that tho ease_might be post

poned, as tke interests ofthe United States could not
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affidavit which he: ahead! ike to to supply in weling,
and pat upon the files uf the Court.
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opetent jurisdiction thereof,

"This Court, continued bis Honor, does nt con
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the only remedy atfonded no anti in the case.

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to hear the arguments of vounsel, either upon a
‘motion for a new trial or forthe granting of a writ of
extor.

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Jonnor rose and remarked that he had o-

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Mr, Pnnee mais some renarke in rely to Mr
Butler, and said he had been most anxious, since his
tral to proved fe the eal ofthe

His Honor said he thought the application no
unreasonable; it appeared the naturo of the ac
Counte would fequite a Tung and cavefl invetigae
tion, and it was dueto all parties that it should be &

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‘Was not depo-

and the mate again struck him with a rope —
Nalumne then ss au ax, and struck him down by
«How on the
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ite mate seized a han-spike
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